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 2
 3                                                                JUDGE FRANKLIN D BURGESS
 4
 5                                   UNITED STATES DISTRICT COURT
 6                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
 7
 8   UNITED STATES OF AMERICA,                            )
                                                          )
 9                          Plaintiff,                    )       No. CR04-5487FDB
                                                          )
10                          v.                            )       ORDER
                                                          )       CONTINUING PRE-TRIAL
11   THOMAS DAVID WEATHERS,                               )       MOTIONS CUTOFF DATE
     KATHY JEAN WEATHERS,                                 )
12                                                        )
                            Defendants.                   )
13                                                        )
14
            Defendant KATHY JEAN WEATHERS, by and through her attorney, RONALD D. NESS, of
15
     Ronald D. Ness and Associates, is requesting that the pre-trial motions cutoff date of April 12, 2005 be
16
     continued to May 3, 2005, so that defense counsel has proper time to file any appropriate motions; and
17
     that such a continuance is necessary for effective case preparation and would serve the ends of justice
18
     and outweigh the best interests of the public and the defendant; therefore,
19
            IT IS HEREBY ORDERED that the pre-trial motions cutoff date is continued from April 12,
20
     2005 to May 3, 2005.
21
            DONE this 19th day of April, 2005.
22
23
                                                           /s/ Franklin D Burgess
24                                                        JUDGE FRANKLIN D BURGESS
                                                          UNITED STATES DISTRICT COURT
25
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27
28
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 1   Presented by:
 2
        /s/ Ronald D Ness
 3   Ronald D. Ness & Associates
     State Bar Number 5299
 4   420 Cline Avenue
     Port Orchard, WA 98366
 5   Telephone: (360) 895-2042
     Fax: (360) 895-3602
 6   E-Mail: info@nesslaw.com
 7   Approved by:
 8
     /s/ KATHERYN KIM FRIERSON                (telephonic)
 9   Assistant U.S. Attorney
10   /s/ KURT P. HERMANNS                (telephonic)
     Assistant U.S. Attorney
11
12   /s/ ALAN RICHEY            (telephonic)
     Attorney for Thomas D Weathers
13
14
15
16
17                                        CERTIFICATE OF SERVICE
18           I hereby certify that on April 12, 2005, I electronically filed the foregoing with the Clerk of the
19   Court using the CM/ECF system which will send notification of such filing to the attorney(s) of record.
20    I hereby certify that I have served the attorney(s) of record, if any, that are non CM/ECF participants
21   via telefax.
22
23                                                           /s/ Karlyn K. Rohwein
                                                             Legal Assistant
24                                                           Ronald D. Ness & Associates
                                                             420 Cline Avenue
25                                                           Port Orchard, WA 98366
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